                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 U.S. BANK, NATIONAL ASSOCIATION,
 in its capacity as Trustee, JOSHUA N.
 TERRY,      AND      ACIS     CAPITAL
 MANAGEMENT, L.P.,
                     Plaintiffs,                  No. 1:21-cv-11059 (GHW‑JLC)
       v.

 THE CHARITABLE DONOR ADVISED
 FUND, L.P., CLO HOLDCO LTD., AND
 NEXPOINT STRATEGIC OPPORTUNIT
 IES FUND,
                  Defendants.

              DECLARATION OF MARK PATRICK IN SUPPORT OF
                    DAF/CLOH’S MOTION TO DISMISS

   1. My name is Mark Patrick. I am over twenty-one (21) years of age. I am of sound

mind and I am competent to make this declaration. I have personal knowledge of the

matters stated in this declaration, and this declaration is made based upon my personal

knowledge unless expressly stated otherwise.

   2. Since approximately March 24, 2021, I have been the Managing Member of

Charitable DAF GP, LLC, a Delaware limited liability company (‘DAF GP’). In connection

with my duties as DAF GP’s Managing Member, I am generally familiar with the

ownership and organizational structure of DAF GP and the other entities described in

this declaration. DAF GP has been the general partner of Charitable DAF Fund, L.P. a/k/a

The Charitable Donor Advised Fund, L.P. (‘DAF’), a Cayman Islands limited partnership,

and a defendant in the above-captioned lawsuit, continuously from at least March 24,
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2021, through the present. DAF GP, as DAF’s general partner, has controlled DAF

continuously since at least March 24, 2021, through the present.

   3. Since approximately March 24, 2021, I have been the Director of Charitable DAF

HoldCo, Ltd., a Cayman Islands limited company (‘DAF Ltd’). DAF Ltd is the sole (100%)

limited partner of DAF.

   4. DAF is the 100% owner of CLO HoldCo, Ltd., a Cayman Islands limited company

(‘CLOH’), who is also a defendant in the above-captioned lawsuit. As the 100% owner of

CLOH, DAF has controlled CLOH continuously since at least March 24, 2021.

   5. Since at least March 24, 2021, as the Managing Member of DAF GP and the Director

of DAF Ltd, I have continuously had exclusive control to make operational decisions for

DAF GP, DAF Ltd, and DAF, including (but not limited to) the decision of whether to

cause DAF to file suit upon claims it may have and/or cause DAF to cause its subsidiary,

CLOH, to file suit upon claims it may have.

   6. None of the following entities owns or controls NexPoint Strategic Opportunities

Fund (a defendant in the above-captioned lawsuit): DAF GP, DAF Ltd, DAF, and CLOH.

   7. In the course of my roles as Managing Member of DAF GP and Director of DAF

Ltd, I have reviewed Redemption Reports, dated June 23, 2021, of ACIS CLO 2014-4, Ltd.,

ACIS CLO 2014-5, Ltd., and ACIS CLO 2015-6, Ltd., true and correct copies of which are

attached to this declaration as Exhibits A, B, and C, respectively (the ‘Redemption

Reports’). The Redemption Reports were made available by U.S. Bank National


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Association in connection with indentures issued by ACIS CLO 2014-4, Ltd. (’ACIS 4’),

ACIS CLO 2014-5, Ltd. (‘ACIS 5’), and ACIS CLO 2015-6, Ltd. (‘ACIS 6’) (collectively,

‘ACIS CLOs’).

   8. Exhibit A to this declaration reflects that, as of June 23, 2021, the account identified

as ‘Collection Account – Principal’ had a cash balance of $100,043,785.36, and ‘Available

Redemption Monies’ amounted to $95,242,833.01. It also reflects that on June 24, 2021, the

entire balance of the Available Redemption Monies would be paid to satisfy the Secured

Notes and to cover administrative expenses. Deducting the Available Redemption

Monies from the ‘Collection Account – Principal’ balance reveals that ACIS 4 had a

reserve of approximately $4,800,952 from its principal collection account after the June

24, 2021, Payment Date.

   9. Exhibit B to this declaration reflects that, as of June 23, 2021, the account identified

as ‘Collection – Principal’ had a cash balance of $150,390,383.46, and ‘Available

Redemption Monies’ amounted to $138,890,383.46. It also reflects that on June 24, 2021,

the entire balance of the Available Redemption Monies would be paid to satisfy the

Secured Notes and to cover administrative expenses. Deducting the Available

Redemption Monies from the ‘Collection – Principal’ balance reveals that ACIS 5 had a

reserve of $11,500,000 from its principal collection account after the June 24, 2021,

Payment Date.




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   10. Exhibit C to this declaration reflects that, as of June 23, 2021, the account identified

as the ‘Collection’ account had a cash balance of $167,087,388.25, the balance of interest

in the ‘Collection’ account was $812,798.37, and ‘Available Redemption Monies’

amounted to $152,084,496.92. It also reflects that on June 24, 2021, the entire balance of

the ‘Available Redemption Monies’ would be paid to satisfy the Secured Notes and to

cover administrative expenses. Deducting interest and the ‘Available Redemption

Monies’ from the ‘Collection’ account balance reveals that ACIS 6 had a reserve of

$14,190,084.96 from its principal collection account after the June 24, 2021, Payment Date.

   11. Based on the balances of cash identified in paragraphs 8 – 10 of this declaration,

the Acis CLOs held reserves (after the June 24, 2021, Payment Date) amounting to in

excess of $30 million. Upon information and belief and according to the allegations in

Plaintiffs’ Amended Complaint (Doc 15), which I have read in its entirety, it is my

understanding that Plaintiffs are withholding in excess of $30 million from distribution

to the Holders of Subordinated Notes allegedly to create a reserve of funds for alleged

indemnity obligations of ACIS 4, ACIS 5, and ACIS 6, respectively.

   12. Exhibits A, B, and C to this declaration also reflect that after redeeming and paying

all requisite distributions to the Holders of Secured Notes, the ACIS CLOs held

substantial unliquidated assets and that the ACIS CLOs’ equity in those assets,

collectively, exceeded $21.5 million.




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   13. In the course of my roles as Managing Member of DAF GP and Director of DAF

Ltd, I am a custodian of the records of CLOH. Attached hereto are approximately 1,118

pages of records from CLOH (‘Records’). These Records are kept by CLOH in the regular

course of business, integrated into CLOH’s business records in the regular course of

business, and relied upon by CLOH in its day-to-day operations. The Records attached

hereto are the original or exact duplicates of the original records integrated into CLOH’s

business records. Among the 1,118 pages of Records are 33 pages of records defined,

above, as the Redemption Reports and marked as Exhibits A, B, and C to this declaration.

Also included among the 1,118 pages of attached Records are 1,085 pages of records

marked as Exhibits D, E, and F to this declaration (the “Indentures”). The Indentures

attached as Exhibits D, E, and F are issued by ACIS 4, ACIS 5, and ACIS 6, respectively.

On information and belief, these Indentures are the indentures forming the basis of

Plaintiffs’ claims in the above-captioned lawsuit.

   14. I declare under penalty of perjury that the foregoing is true and correct.


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   Executed on April ________, 2022     _________________________________
                                                  Mark Patrick




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